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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
                      Plaintiff,            )
                                            )
        v.                                  )      Cause No. 1:09-cr-0086-SEB-DKL-5
                                            )
 ROGER D. LEONARD,                          )
                                            )
                      Defendant.            )

                  Order Adopting Report and Recommendation

        Having reviewed Magistrate Judge Debra McVicker Lynch=s Report and

 Recommendation that Roger D. Leonard=s supervised release be modified, pursuant to 18 U.S.C.

 '' 3401(i) and 3583(e) and Rule 32.1(a)(1) Federal Rules of Criminal Procedure, the Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and ORDERS:

        (a)    Mr. Leonard’s supervised release is revoked;

        (b)    Mr. Leonard is sentenced to a term of imprisonment of seven (7) months in the
               custody of the Attorney General or his designee with no supervised release to
               follow; and

        (c)    Mr. Leonard is to be taken into custody immediately. .

        SO ORDERED.

               01/06/2014
        Date: __________________
                                                              _______________________________
                                                              SARAH EVANS BARKER, JUDGE
                                                              United States District Court
                                                              Southern District of Indiana
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 United States Probation Office

 United States Marshal
